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                  IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                               EASTERN DIVISION

ARTURO PINTO,                                 )
                                              )
           Plaintiff,                         )
                                              )
   v.                                         )    CASE NO. 3:17-cv-867-SMD
                                              )
THE RESERVE AT OPELIKA, et al.,               )
                                              )
           Defendants.                        )

                                          ORDER

        Upon consideration of the parties’ Stipulations of Dismissal (Docs. 73, 79), it is

        ORDERED that the Motion to Dismiss for Failure to State a Claim (Doc. 66) and

the Motion to Dismiss Plaintiff’s Second Amended and Restated Complaint (Doc. 68) are

DENIED as MOOT.

        DONE this 1st day of May, 2019.



                                     /s/ Stephen M. Doyle
                                    UNITED STATES MAGISTRATE JUDGE
